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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

SPECIFIX FASTENERS PTY LTD, et al.,             )   CASE NO.:      1:15-cv-01366-CAB
                                                )
               Plaintiffs,                      )   Judge Christopher A. Boyko
                                                )
       v.                                       )
                                                )   DEFENDANTS’ MOTION TO DISMISS
ALLFASTENERS USA LLC, et al.,                   )   FOR LACK OF STANDING AND
                                                )   FAILURE TO STATE A CLAIM
               Defendants.                      )
                                                )
                                                )

       Pursuant to Federal Rules of Civil Procedure 12(b)(1) & 12(b)(6), and as discussed in

Defendants’ accompanying memorandum, Defendants AllFasteners USA LLC, AllFasteners

Enterprises LLC, and AllFasteners LA LLC (collectively, “AllFasteners” or “Defendants”)

respectfully move the Court for an Order dismissing all of Plaintiffs’ causes of action with

prejudice.

Date: November 9, 2015                       Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 9th day of November, 2015, the foregoing Motion To Dismiss

For Lack Of Standing And Failure To State A Claim was filed electronically with the Clerk of

the Court using CM/ECF and that the foregoing was served upon the following via electronic

mail:

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                                             By:    /s/ Christopher Comiskey
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